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 6   Attorneys for Movant
     Nissan-Infiniti LT
 7

 8                                 UNITED STATES BANKRUPTCY COURT
 9                                   FOR THE DISTRICT OF ARIZONA
10   In re                                               Case No. 2:17-bk-07624-SHG
11   ARLENE SILVER and RONALD J SILVER,                  Chapter 11
12                      Debtors.
13

14   NISSAN-INFINITI LT,                                 PROOF OF SERVICE

15                      Movant,

16               vs.

17   ARLENE SILVER and RONALD J SILVER,
     Debtors,
18
                        Respondents.
19

20           I, Susan Earnest          , declare that:

21           I am employed in the County of Orange, State of California. My business address is 4665

22 MacArthur Court, Suite 280, Newport Beach, California 92660. I am over the age of eighteen years

23 and not a party to this cause.

24           On July 11, 2018, I caused the following documents:

25           •         Motion for Relief from Automatic Stay;

26           •         Notice of Motion for Relief from Automatic Stay; and

27           •         [Proposed] Order Granting Motion for Relief from Automatic Stay.

28 to be served in said cause by placing a copy of thereof, enclosed in a sealed envelope with postage

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                                                PROOF OF SERVICE
 1 prepaid, in the United States Mail at Newport Beach, California and/or via electronic means pursuant

 2 to Local Bankruptcy Rule 5005-2(k) as follows:

 3                                              DEBTORS
                                              (Via U.S. Mail)
 4                                             Arlene Silver
                                        8329 E. Charter Oak Road
 5                                      Scottsdale, AZ 85260-5230
 6                                            Ronald J Silver
                                             42 Augusta Drive
 7                                          Deerfield, IL 60015
 8                                    DEBTORS’ ATTORNEY
                                       (Via ECF Notification)
 9                                          Kyle A. Kinney
                                  Law Offices of Kyle A. Kinney, PLLC
10                                      1717 N 77th St., Suite 6
                                         Scottsdale, AZ 85257
11
                                             U.S. TRUSTEE
12                                        (Via ECF Notification)
                                         Office of the U.S. Trustee
13                                        230 North First Avenue
                                                 Suite 204
14                                          Phoenix, AZ 85003
                                      ustpregion14.px.ecf@usdoj.gov
15
                                         Renee Sandler Shamblin
16                                       Office of the U.S. Trustee
                                     230 North First Avenue, Suite 204
17                                       Phoenix, AZ 85003-1706
18

19          I declare under penalty of perjury that the foregoing is true and correct.
20 Dated: July 11, 2018                                    /s/ Susan Earnest
                                                           SUSAN EARNEST
21

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                                            PROOF OF SERVICE
